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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

   Criminal Case No. 23-cr-00093-RMR

   UNITED STATES OF AMERICA,

   Plaintiff,

   v.

        1. MALACHI ALCALA,

   Defendant.

   ________________________________________________________________________

                           NOTICE OF DISPOSITION
   ________________________________________________________________________

                  Comes now Malachi Alcala through CJA counsel Richard J. Banta and

   gives Notice that he has reached a disposition with the government of the charges

   pending against him in this case. Mr. Alcala requests that this matter be set for a change

   of plea hearing.

                                                             Respectfully submitted,


                                                           s/Richard J. Banta
                                                            Richard J. Banta
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                                                            Denver, CO 80246
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                                                            Malachi Alcala




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                                  CERTIFICATE OF SERVICE

          I certify that on September 14, 2023 I electronically filed the foregoing Notice of

   Disposition with the Clerk of the Court using the CM/ECF system, which will send

   notification of such filing to all counsel of record.


                                                            s/Richard J. Banta
                                                             Richard J. Banta




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